                         Case 5:22-cv-00787-JD Document 12 Filed 09/14/22 Page 1 of 2

                                  IN THE UNITED STATES DISTRICT COURT FOR THE
                                         WESTERN DISTRICT OF OKLAHOMA

        Andrew Bridge, et al.                                 )
                                                              )
                                                              )
                                                              )
                                     Plaintiff(s),            )
                                                              )
          v.                                                  )        Case No. CIV-22-787-JD
        Oklahoma State Department of                          )
        Education, et al.                                     )
                                                              )
                                                              )
                                     Defendant(s)             )

                                             ENTRY OF APPEARANCE

          To the Clerk of this court and all parties of record:

                    Enter my appearance as counsel in this case for:
         Plaintiffs                 , Andrew Bridge, Mark Miles, and Sarah Stiles                           .
          (Plaintiff/Defendant)                      (Name of Party)


               I certify that I am admitted to practice in this court and am registered to file
          documents electronically with this court.


                                            s/ Jon W. Davidson                           9/14/22
                                            Signature                                              Date

                                            Jon W. Davidson
                                            Print Name

                                            American Civil Liberties Union Foundation
Criminal Cases Only:                        Firm

       Retained or USA                      120 Broad Street, 18th Floor
                                            Address
       CJA Appointment
                                            New York                         NY                 10005
                                            City                             State               Zip Code
       Federal Public Defender
                                            (323) 536-9880
       Pro Bono                             Telephone

                                            jondavidson@aclu.org
       CJA Training Panel
                                            Internet E-mail Address




    REVISED 05/14/18
           Case 5:22-cv-00787-JD Document 12 Filed 09/14/22 Page 2 of 2




                                         Certificate of Service

        ____ I hereby certify that on                             , I electronically transmitted the attached

document to the Clerk of Court using the Electronic Case Filing System for filing. Based on the records

currently on file in this case, the Clerk of Court will transmit a Notice of Electronic Filing to those

registered participants of the ECF System.




        _____ I hereby certify that on                            , I filed the attached document with the

Clerk of the Court and served the attached document by

on the following, who are not registered participants of the ECF System:




                                                          Jon W. Davidson
                                                       V
                                                       s/ Attorney Name
